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                        UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF MISSISSIPPI

   IN RE: CORA LONG                                            CHAPTER 13

   DEBTOR                                                      CASE NO. 18-13981 JDW

                         OBJECTION TO PROOF OF CLAIM
               FILED BY INTERNAL REVENUE SERVICE [ CLAIM NO. 2]

          COMES NOW the above-named Debtor, by and through her attorney of record

   in this case, and objects to the Proof of Claim filed by Internal Revenue Service

   (“Creditor”). In support thereof, shows unto the Court the following:

          1.      Creditor filed its proof of claim in the amount of $5,225.24 (Clm. #2) on

                  October 31, 2018.

          2.      Because the Debtor’s only income for the previous 4 years is Social

                  Security benefits, she is not required to file a tax return for the years

                  indicated on the claim.

          3.      The Creditor should amend its claim to $0.00 or withdraw the claim

                  altogether.

          4.     Other grounds to be shown at the hearing.

                  WHEREFORE, the Debtor prays this Court will sustain this Objection to

   Proof of Claim at the hearing hereon, and the claim be disallowed, and for such other,

   further and general relief to which the Debtor may be entitled.    This the 2nd day of

   November, 2018.

                                                       /s/Robert H. Lomenick
                                                       KAREN B. SCHNELLER
                                                       ROBERT H. LOMENICK
                                                       SCHNELLER & LOMENICK, PA
                                                       Attorneys at Law
                                                       Post Office Box 417
                                                       Holly Springs, MS 38635
                                                       662-252-3224
                                                       rlomenick@gmail.com
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                            UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF MISSISSIPPI

   IN RE: DOUGLAS EDWARD HOLLOWAY                              CHAPTER 13

   DEBTOR                                                      CASE NO. 18-13330 JDW

                          NOTICE OF OBJECTION TO CLAIM

          YOU ARE HEREBY NOTIFIED that an objection to your claim has been filed

   in the above referenced bankruptcy case. Your claim may be reduced, modified, or

   eliminated. If you do not want the Court to eliminate or change your claim, a written

   response to the attached objection to claim must be filed with:

   Clerk, U.S. Bankruptcy Court
   Northern District of Mississippi
   703 Hwy 145 North
   Aberdeen, MS 39730

   and a copy must be served on the undersigned Debtor(s)’ attorney and the Chapter 13

   trustee on or before thirty (30) days from the date of this notice. In the event a written

   response is filed, the court will notify you of the date, time and place of the hearing

   thereon.

   DATED: November 2, 2018

   CHAPTER 13 STANDING TRUSTEE:
   Ms. Locke D. Barkley
   Chapter 13 Trustee
   6360 I-55 North, Suite 140
   Jackson, MS 39211
                              /s/Robert H. Lomenick
                              KAREN B. SCHNELLER, MSB 6558
                              ROBERT H. LOMENICK, JR., MSB 104186
                              SCHNELLER & LOMENICK, P.A.
                              126 NORTH SPRING STREET
                              POST OFFICE BOX 417
                              HOLLY SPRINGS, MS 38635
                              662-252-3224/karen.schneller@gmail.com
                                         rlomenick@gmail.com
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                                 CERTIFICATE OF SERVICE

             I, Karen B. Schneller/Robert H Lomenick, attorney for the Debtor, hereby
   certify that a copy of the foregoing Objection to Proof Of Claim and the Notice to
   Objection to Claim has this day been served upon the Chapter 13 Trustee, the U.S.
   Trustee and Internal Revenue Service, either by electronic means or by United States
   Mail.

   Internal Revenue Service
   P.O. Box 7346
   Philadelphia, PA 19101-7346

   Internal Revenue Service
   c/o Office of U.S. Attorney
   900 Jefferson Avenue
   Oxford, MS 38655

   Locke Barkley
   Chapter 13 Trustee
   P.O. Box 55829
   Jackson, Mississippi 39296

   Office of U.S. Trustee
   501 East Court Street, Suite 6-430
   Jackson, Mississippi 39201

            This the 2nd day of November, 2018.

                                               /s/Robert H Lomenick
                                               KAREN B. SCHNELLER
                                               ROBERT H. LOMENICK
